    Case 2:20-cv-00980-DJP-EJD         Document 394       Filed 05/30/24   Page 1 of 3




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

                                                  *
AHMED BAQER, et al.,                              *       CIVIL ACTION NO.: 20-00980-
                                                  *       DJP-EJD (Consolidated with 20-
                 Plaintiffs,                      *       1840-WBV-DPC)
                                                  *
                               v.                         JUDGE DARREL JAMES
                                                  *
                                                  *       PAPILLION
ST. TAMMANY PARISH GOVERNMENT,
a/k/a/ ST. TAMMANY PARISH COUNCIL, et             *
                                                  *       MAGISTRATE JUDGE EVA J.
al.,                                                      DOSSIER
                                                  *
                   Defendants.                    *
                                                          JURY TRIAL
                                                  *
                                                  *


*****************************************************************************

  PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS’ MOTIONS FOR SUMMARY
JUDGMENT FOR FAILURE TO COMPLY WITH THIS COURT’S ORDER AND STAY
  BRIEFING ON SUMMARY JUDGMENT UNTIL THIS MOTION IS RULED UPON

       NOW INTO COURT, comes Plaintiffs, AHMED BAQER, FLOYD WILLIAMS, KEVIN

LOUVIERE, TERRY MATTHEW HALL, JR. and KLABERT JOSEPH GUILLOT, SR., by and

through their counsel of record, ROMANUCCI & BLANDIN, LLC; JACOB LITIGATION, INC.;

and THE GLORIOSO LAW FIRM; to respectfully request that this Court Strikes Defendants’

Motions for Summary Judgment for Failure to Comply With This Court’s Order and Stay Briefing

on Summary Judgment Until This Motion is Ruled Upon. In support of this request, Plaintiffs

incorporate by entirety the attached Memorandum of Law.




                                             1
    Case 2:20-cv-00980-DJP-EJD         Document 394       Filed 05/30/24      Page 2 of 3




       WHEREFORE, Plaintiffs respectfully request that this Court grant their motion to strike

Defendants’ Motions for Summary Judgment, ECF Nos. 387-388, 390-392, and stay briefing on

summary judgment until this motion is ruled upon.



Dated: May 30, 2024                        Respectfully Submitted,


                                           By: __/s/ Bhavani Raveendran (Pro Hac Vice)
                                                  Attorney for Plaintiffs

                                           Maria B. Glorioso (#24435), T.A.
                                           Vincent J. Glorioso, Jr. (#6064)
                                           THE GLORIOSO LAW FIRM
                                           2716 Athania Parkway
                                           Metairie, LA 70002
                                           Tel: (504) 569-9999
                                           Fax: (504) 569-9022
                                           maria@gtorts.com

                                           Devon M. Jacob (pro hac vice)
                                           JACOB LITIGATION, INC.
                                           P.O. Box 837
                                           Mechanicsburg, PA 17055-0837
                                           Tel: (717) 796-7733
                                           djacob@jacoblitigation.com

                                           Antonio M. Romanucci (pro hac vice)
                                           Bhavani K. Raveendran (pro hac vice)
                                           Sam Harton (pro hac vice)
                                           ROMANUCCI & BLANDIN, LLC
                                           321 N. Clark Street, Suite 900
                                           Chicago, IL 60654
                                           Tel: (312) 458-1000
                                           Fax: (312) 458-1004
                                           aromanucci@rblaw.net
                                           b.raveendran@rblaw.net
                                           sharton@rblaw.net




                                              2
    Case 2:20-cv-00980-DJP-EJD           Document 394       Filed 05/30/24     Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing was electronically filed with the Clerk of

Court of the United States District Court for the eastern District of Louisiana on Thursday, May

30, 2024, by using the CM/ECF system, which system will send a notice of electronic filing to

appearing parties in accordance with the procedures established.



                                            __/s/ Bhavani Raveendran (Pro Hac Vice)
                                                  Bhavani Raveendran




                                               3
